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      ORDERED in the Southern District of Florida on December 8, 2018.




                                                   Laurel M. Isicoff
                                                   Chief United States Bankruptcy Judge




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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


      IN RE:                                          CASE NO.: 18-22930-LMI

      MARIELA C. ROMAN                                CHAPTER 7

            Debtor.
      ___________________________________/

                     ORDER GRANTING UNITED STATES OF
                   AMERICA’S MOTION FOR ORDER DECLARING
         THAT AUTOMATIC STAY IS INAPPLICABLE TO RESTITUTION JUDGMENT

               THIS CAUSE having come before the Court on November 28, 2018 at 10:30 a.m. upon

      the United States of America’s Motion For Order Declaring that Automatic Stay is Inapplicable

      to Restitution Judgment [D.E. 20] (the “Motion”) and the Court being advised that Debtor has no

      objection to the Motion, and having reviewed the Motion, and having found good cause to grant

      the Motion, it is:

      ORDERED AS FOLLOWS:

               1.     The Motion is GRANTED.
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       2.      The automatic stay does not apply to the United States of America’s efforts to

collect and enforce its restitution judgment against the Debtor Mariela C. Roman.

       3.      The United States may seek to enforce its criminal restitution judgment against all

property of Debtor, Mariela C. Roman, including all property of Roman’s that became property

of the estate upon the filing of the bankruptcy petition.

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Submitted by:
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Attorney Marlene Rodriguez is directed to serve copies of this order on all interested parties and
file a certificate of service with the Clerk of the Court.




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